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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

   YEN LAM NOVACK, MY VINSON,
   AND KEVIN MATA,

        Plaintiffs,

   v.                                                            Civil Action No. 3:17-cv-01684-N

   RICE108 INC d/b/a PHO CHATEAU
   and THYANNA NGO, Individually.


        Defendants.


   DEFENDANT VUONG NGUYEN’S CERTIFICATE OF INTERESTED PERSONS

         Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), Defendant Vuong Nguyen, by and through,

attorney-of-record, submits this Certificate of Interested Persons, to the best of his information,

knowledge and belief:

   1. Plaintiff Yen Lam Novack; 

   2. Plaintiff My Vinson;

   3. Plaintiff Kevin Mata;

   4. Plaintiff’s attorney, Herrmann Law, PLLC;

   5. Defendant Rice108, Inc. d/b/a Pho Chateau;

   6. Defendant Thyanne Ngo;

   7. Defendant Vuong Nguyen;

   8. Defendants’ attorney, William Chu.

         No other persons or entities, who or which are financially interested in the outcome of the

case, are currently known to Defendant.
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        DATED this 13th day of March, 2018.                 Respectfully submitted,


                                                            By: /s/William Chu
                                                            William Chu
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                                                            Dallas, Texas 75244
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                                                            wmchulaw@aol.com
                                                            Attorney for Defendants

                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 13, 2018, I filed a true and correct copy of the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send a notice of the

electronic filing to all counsel of record.

                                                    /s/ William Chu
                                                    William Chu
